
HALL, Judge
(dissenting in part) :
I concur in the holding that plaintiff is entitled to recover from defendant the amount of the funds belonging to the employer deposited into the employee’s personal checking account and thereby misappropriated to his own use. I dissent only from the holding that plaintiff is entitled to also recover the sum of $326.82 representing a bank money order payable to “Vandegaer Abstract” issued by the Sabine State Bank &amp; Trust Co., for the difference between payment of invoices assigned to secure the Bank’s loan and the balance due on the loan. There is no evidence that the proceeds of this money order were not received by or on behalf of the employer’s business or that the proceeds were misappropriated by the employee to his own use.
